Hon. Lewis A. Kaplan                                                Feb 25, 2024
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312


Dear Judge Kaplan:

I am writing to you today regarding the case of Sam Bankman-Fried, whom I have
known for the past five years since we met in February 2019. I understand the
seriousness of the charges against him and the harm caused to many individuals and
entities by the FTX collapse so I will reframe discussion on those and simply share my
own experience and impression of his character and intentions.

Prior to initiating business relationship with Sam I worked hard to do as much research
or what might be termed Due Diligence on him personally as possible. What I
determined from those eﬀorts was that Sam had an interesting and unique combination
of character attributes.

On the one hand he possesses an undeniably sharp intellect and demonstrably strong
skills in mathematics and market dynamics. Sam is a math whiz with extraordinary
intellect. On the other hand he is also extremely focused on ‘doing maximum good for
the world’ or what he refers to as eﬀective altruism. Regardless of the mistakes and
damage caused, his honest intentions have always been to use his skills and abilities to
make the world a better place. This interesting balance between business profits and
helping people is what ultimately led me to take what many might consider a big
business risk and act as an early lender to his trading firm Alameda.

During my subsequent years of business dealings with Sam, there were multiple
occasions where those same attributes became clearly visible and reinforced. One of
the best examples is In 2020 when my wife                          and my family was
under both emotional and financial stress.. It was unfortunately at that point Alameda
as a business decided it was time to make changes to our financial agreements,
basically to increase their profits. While I understood the reasons and it was completely
within their rights, I decided to reach out to Sam and ask if the changes could be
delayed due to my personal hardship. Sam readily agreed and even further oﬀered his




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support to myself and my family during this diﬃcult time. This type of empathetic
decision making was a repeated theme across most all of our interactions and
business dealings.

In no means do I want to diminish the unfortunate and negative impact many of Sam’s
business decisions at FTX on so many people. I also happen to be one of the many
people impacted by those decisions and the subsequent FTX exchange collapse.

But I do strongly believe that Sam Bankman-Fried possesses unique skills and talents
that could potentially be utilized in a way that benefits those impacted and even society
as a whole. I would encourage the court to as best they can put aside the media frenzy
and consider how Sam could both ‘due his time’ but also ‘pay his debt’ to the
unfortunate victims of the exchange collapse.

Finally, I can share that since his initial detention I’ve had the opportunity to speak with
Sam on multiple occasions and he has personally expressed deep remorse for his
mistakes and his stated desire to find a way, any way to contribute positively. To help
those he has hurt, and to if at all possible ‘do good for the world’.

I understand most who were harmed by FTX will read these words and perhaps
chuckle at the extreme irony, but I think those who really know Sam would understand.

Ultimately, the decision of sentencing rests with you, your Honor. I simply hope that
you will consider all available evidence and perspectives, including what I have shared
above.

Thank you for your time and consideration.

Sincerely,

Douglas Slemmer




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